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EXHIBIT “A”
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DECEDENT FIRST NAME | DECEDENT LAST NAME _ | CIVIL DOCKET # 9/11 CLAIMANT’S PAIN | TOTAL FINAL
AND SUFFERING JUDGMENT PAIN AND
AWARD ECF NO. SUFFERING AWARD
Stephen Dimino 02-cv-7209 54 $2,000,000
Jonathan Connors 02-cv-7209 54 $2,000,000
lan Schneider 02-cv-7209 54 $2,000,000
Esmerlin Salcedo 02-cv-7209 54 $2,000,000

